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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 9:22-CV-80380-BER

  CAPITOL RECORDS, LLC; and CAPITOL
  CMG, INC.,

                    Plaintiffs,

           v.

  JULIA MELLERSKI (a/k/a JULIA MILLER,
  a/k/a J.L. MILLER, a/k/a JULIA
  OSSENMACHER); JOHN MARK
  OSSENMACHER; JASON JOHN
  OSSENMACHER; TRANSFER TRUST, LLC;
  and OWM, LLC,

                    Defendants.

                                     NOTICE OF SETTLEMENT

           Pursuant to Local Rule 16.4, the Plaintiffs, Capitol Records, LLC and Capitol CMG, Inc.

  (the “Plaintiffs”) and the Defendants, Julia Mellerski (“Mellerski”), John Mark Ossenmacher

  (“Ossenmacher Sr.”), Jason John Ossenmacher (“Ossenmacher Jr.”), Transfer Trust, LLC

  (“Transfer Trust”) and OWM, LLC (“OWM”, and collectively with Mellerski, Ossenmacher Sr.,

  Ossenmacher Jr., and Transfer Trust, the “Defendants”), (hereinafter the “Parties”) by and through

  their undersigned counsel, give the Court notice that the Parties have executed a binding settlement

  term sheet resolving all claims that have been or could be asserted in this litigation. The Parties

  intend to further memorialize the settlement through a Consent Decree which they will jointly

  request the Court to enter.

           Accordingly, the Parties hereby request that the Court strike the trial date and all other

  pending deadlines and grant the Parties 30 days to submit to the Court their proposed Consent

  Decree and to submit any other documents related to the dismissal of this civil action.

           Dated: June 5, 2025

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                                    Respectfully submitted,

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